Case 2:04-cr-20313-SH|\/| Document 66 Filed 04/21/05 Page 1 of 2 Page|D 95

IN THE UNITED sTATEs D:csTRIcT coURT "°§
FoR THE wEsTERN DIsTRIcT oF TENNESSEE
wEsTERN DIvIsIoN 0541:*¢'~3 2i I`S_H 3 J'.

HOBEHFP wi
CLEF*?.K. U.S, D§_ _
EMD.OFTN,MHWP

4

S

§

UNITE`.D STATES OF AMERICA,
Plaintiff,
CR. NO. 04»20313-Ma

VS.

WILLIAM WOODS,
DEREK BOBO,

~.__,_..,.~_,-._,~_,~_z~_-‘.._,~_-._»

Defendants.

 

ORDER ON CONTINUANCE AN'D SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., with a
report date of Thursday, April 21, 2005 at 2:00 p.m.

The period. fronl March 25, 2005 through May 13, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

2»=14\

IT IS SO ORDERED this day of April, 2005.

M<'%

SAMUEL H. MAYS, JR.
UNITED STATES DIS'I‘RICT JUDGE

 

 

\-.3 ;,'-,".\\...."<ri‘rl[ !;'.'n-,w -` : ‘ "' "5".\?`.!§:\‘1C=._ziY‘.'p_}i¢EVl'.]‘? //F'\

mmFluH 55 ano;'or;i"¢'(b) FHL,rF” on ¢ “ x “' -4 ,"' Q& ."'

rr d

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
case 2:04-CR-203]3 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

 

M. lake Werner

LAW OFFICE OF M. JAKE WERNER
314 Poplar Ave.

Memphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

